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            RONALD WILKOWSKI
        6

        7
                               IN THE UNITED STATES DISTRICT COURT
        8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
        9

       10   UNITED STATES OF AMERICA,                ) Case No.: 1:11-CR-00428-LJO
                                                     )
       11                Plaintiff,                  )
                                                     )
       12         vs.                                ) STIPULATION AND ORDER TO
                                                     ) CONTINUE SENTENCING
       13                                            )
                                                     )
       14   RONALD WILKOWSKI,                        )
                                                     ) Date: September 23, 2013
       15                Defendant.                  ) Time: 8:30 a.m.
                                                     ) Hon. Lawrence J. O’Neill
       16

       17         Plaintiff United States of America, by and through its
       18   counsel of record, and defendant, by and through his counsel
       19   of record, hereby stipulate as follows:
       20         1. By previous order, this matter was set for sentencing
       21   on September 23, 2013, at 8:30 a.m.
       22         2. By this stipulation, defendant now moves to continue
       23   the sentencing until November 25, 2013, at 8:30 a.m.
       24         3. The parties agree and stipulate, and request that the
       25   Court find the following:
       26                a. The Defendant has submitted numerous requests for
       27         his medical records and is waiting for the Doctor’s Office
       28         and Pharmacy to respond and/or provide them to Defense
                                                    - 1 -
                                Stipulation and Order to Continue Sentencing
                                        CASE NO.: 1:11-CR-00428-LJO

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        1          Counsel.      Partial records have been received. However,
        2          additional records are needed. The additional time is
        3          needed to review the records and consult with the Doctor.
        4                b. The government does not object to the continuance.
        5   IT IS SO STIPULATED.
        6

        7   Dated: September 18, 2013                     /s/ Laurel J. Montoya _
                                                          Assistant United States
        8                                                 Attorney
        9

       10   Dated: September 18, 2013                     /s/ Anthony P. Capozzi
                                                          Anthony P. Capozzi
       11                                                 Attorney for
                                                          RONALD WILKOWSKI
       12

       13

       14                                           ORDER
       15

       16          For reasons set forth above, the continuance requested by
       17   the parties is granted.
       18          The Sentencing currently scheduled for September 23,
       19   2013, at 8:30 a.m. is continued to November 25, 2013, at 8:30
       20   a.m.    THERE WILL BE NO MORE FUTURE CONTINUANCES GRANTED.
       21

       22          IT IS SO ORDERED.
       23

       24
            Dated: September 19, 2013                      /s/ Lawrence J. O’Neill
                                                          UNITED STATES DISTRICT JUDGE
       25

       26

       27

       28

                                                    - 2 -
                                Stipulation and Order to Continue Sentencing
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